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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISANA


In Re: Oil Spill by the Oil Rig            *   MDL NO. 2179
       “Deepwater Horizon in the           *
       Gulf of Mexico, on April 20, 2010   *   SECTION: J
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                                           *
                                           *
                                           *
       This Document Relates To:           *   JUDGE BARBIER
       Case No. 2:10-cv-08888-CJB-SS       *
       Doc No. 55312                       *   MAGISTRATE JUDGE
                                           *   SHUSHAN
       Short-Form Joinder of               *
       DAVID E. BANGS                      *
                                           *
                                           *
       ************************


                                   ORDER

Considering the foregoing Motion to Withdraw as Counsel:

      IT IS ORDERED that Martin D. Crump and the law firm of Davis &

Crump, P.C., be allowed to withdraw as Counsel for David E. Bangs.

      This the           day of                , 2012.




                                    UNITED STATES DISTRICT JUDGE




                                       1
